               Case 22-10372-RAM          Doc 50     Filed 08/10/22   Page 1 of 4


                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION


 IN RE:                                             BK CASE NO. 22-10372-RAM

                                                    CHAPTER 13

 Carlos F. Mendez

             Debtor.



  AJAX MORTGAGE LOAN TRUST 2018-D, MORTGAGE-BACKED SECURITIES,
   SERIES 2018-D, BY U.S. BANK NATIONAL ASSOCIATION, AS INDENTURE
  TRUSTEE MOTION TO COMPEL CHAPTER 13 PLAN MODIFICATION and/or
                              DISMISS CASE

COMES NOW, Ajax Mortgage Loan Trust 2018-D, Mortgage-Backed Securities, Series 2018-D,

by U.S. Bank National Association, as Indenture Trustee (“Creditor”) by and through its

undersigned attorney and files this to Compel Chapter 13 Plan Modification or in the alternative

to dismiss case and states as follows in support:

                                            BACKGROUND

       1.      On January 18, 2022 Debtor filed a Voluntary Chapter 13 Petition [Doc. 1].

       2.      On February 2, 2022, Debtor filed the Chapter 13 Plan [Doc. 16] seeking mortgage

modification on the property identified as 1990 Keystone Blvd., Miami, Florida 33181 (the

“Property”). The Second Amended Plan (the “Plan”) was filed on June 23, 2022 and proposed

the same treatment as to Creditor [Doc. 38]. Debtors sought to pay adequate protection for the

mortgage modification mediation payment in the amount of $900 per month, which is less than

the contractual monthly amount owed to Creditor in the amount of $4,488.19. Further the Plan

does not include arrearage owed to Creditor based on its request for mortgage modification

mediation.
               Case 22-10372-RAM           Doc 50    Filed 08/10/22     Page 2 of 4


        3.      On March 23, 2022, Creditor filed its Proof of Claim 3 evidencing its security

interest in the amount of $467,669.07 with $39,323.48 in arrearage.

        4.      On May 12, 2022, an order Granting Debtor’s Verified Ex Parte Motion for Referral

to mortgage Modification Mediation was entered [Doc. 32].

        5.      On July 25, 2022, the mediator filed the Final Report of Loss Mitigation/Mortgage

Modification Mediator [Agreement NOT Reached] [Doc. 42].

        6.      On July 29, 2022, the Plan was confirmed [Doc. 47]. The Order Confirming

Chapter 13 Plan

        7.      To date, more than fourteen (14) days have passed since the Mediator issued the

Report to the Court of Mediation Conference and Debtor failed to file a Motion to Modify the Plan

which presently pays an inadequate adequate protection payment to Creditor based on Debtor’s

initial pursuit of Mortgage Modification Mediation and does not treat the arrears. Upon conclusion

of an unsuccessful loss mitigation review, the bankruptcy is intended to become a true cure and

maintain not a park and obstain

                                         BASIS FOR DISMISSAL

        8.      The Southern District of Florida Bankruptcy MMM Program Procedures require,

“[i]f the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after

the mediator’s Final Report is filed, the debtor will amend or modify the plan to (a) conform to the

lender’s Proof of Claim (if the lender has filed a Proof of Claim), without limiting the Debtor’s

right to object to the claim or proceed with a motion to value; or (b) provide that the real property

will be “treated outside the plan.”

        9.      Debtor fails to comply with the MMM Procedures.

        10.     11 U.S.C. 1307(c)(1) allows for dismissal of a cause caused by unreasonable delay

by the debtor that is prejudicial to creditors.
               Case 22-10372-RAM          Doc 50     Filed 08/10/22      Page 3 of 4


       11.     Debtor is abusing the bankruptcy process attempting to delay the inevitable

continued foreclosure trial while it lingers in bankruptcy under the guise of seeking a mortgage

modification mediation that ended on July 25, 2022 with the issuance of the Final Report of

Mediation. The Modified Plan was due on August 8, 2022; and the Debtor is reposing in a tub of

her mass pre-petition arrears without comply with the Mortgage Modification Mediation

Procedures. This establishes cause under 11 U.S.C. 1307(c)(1).

       12.     The Court should not allow willful disobedience of the Order. The Supreme Court

stated in a 1992 bankruptcy decision that “[d]eadlines may lead to unwelcome results, but they

prompt parties to act and they produce finality.” Taylor v. Freeland & Krontz, 503 U.S. 638, 644;

112 S. Ct. 1644, 1648 (1992). Here, the Debtor willfully disregards a court deadline. If it is the

courts intend to treat debtors and creditors equally in bankruptcy cases, then they must enforce

deadlines evenly. Deadlines pertaining to actions by debtors must be enforced as readily as

deadlines that affect trustees or creditors. Penalties for willfully disregarding those deadlines must

be equally enforced to discourage such behavior. To do so otherwise would constitute bias in

favor of debtors, render the requirements of the Mortgage Modification Mediation Program

meaningless and debase the bankruptcy court system.

       13.     Debtor willfully ignores the Court’s deadlines in in the MMM Procedures and that

needs to be to their detriment to maintain the integrity of our bankruptcy system and the Mortgage

Modification Mediation Program.

       14.     The Court should dismiss the bankruptcy with a 1-year bar prohibiting refiling.

       WHEREFORE, this Court should dismiss the bankruptcy with a one-year bar prohibiting

refiling the bankruptcy case as befitting this behavior; in the alternative the Court should require

Debtor to modify the Confirmed Chapter 13 Plan to cure and maintain as to the mortgage or

surrender; in the alternative an Order should be entered entitling Creditor to a comfort order
               Case 22-10372-RAM          Doc 50    Filed 08/10/22      Page 4 of 4


granting it relief from the automatic stay.




                                              /s/ Allison D. Thompson
                                              Allison D. Thompson
                                              Florida Bar No. 36981
                                              adt@mechaniknuccio.com
                                              MECHANIK NUCCIO HEARNE & WESTER, P.A.
                                              305 South Boulevard
                                              Tampa, Florida 33606-2150
                                              (813) 276-1920 (Tel)
                                              (813) 276-1560 (Fax)



                                 CERTIFICATE OF SERVICE

       I hereby certify that I am admitted to the bar of this Court. I further certify that the
foregoing document was served either by CM/ECF transmission or standard first class mail this
10th day of August 2022, to the following:

Carlos F Mendez
1990 Keystone Blvd
Miami, FL 33181
Debtor

Samir Masri
901 Ponce de Leon Blvd #101
Coral Gables, FL 33134
Debtor Attorney

Nancy K. Neidich
www.ch13miami.com
POB 279806
Miramar, FL 33027
Chapter 13 Trustee

United States Trustee
51 S.W. 1st Ave., Ste. 1204
Miami, Florida 33130
U.S. Trustee
                                              /s/ Allison D. Thompson
                                              Allison D. Thompson
